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5                                 UNITED STATES DISTRICT COURT

6                                EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                       No. 2:14-CR-00239-GEB
9                        Plaintiff,
10          v.                                       ORDER DENYING MOTION TO SEAL
                                                     DOCUMENTS
11   ADALBERTO VALENZUELA-RUIZ,
12                       Defendant.
13

14                  The United States emailed to chambers on March 14, 2018

15   documents to be considered in camera for sealing.                            However, the

16   request is overbroad.                Therefore, the documents are treated as

17   having      been     returned       to   the    United      States   under     Local   Rule

18   141(e)(1), which prescribes: “If a [sealing r]equest is denied in

19   full    or     in    part,    the    Clerk      [of    Court]    will   return    to    the

20   submitting          party    the    documents         for    which   sealing    has    been

21   denied.”       See also United States v. Baez–Alcaino, 718 F. Supp.

22   1503, 1507 (M.D. Fla. 1989) (indicating that when a judge denies

23   a    sealing    request       submitted        for    in    camera   consideration,     the

24   party submitting the documents for sealing decides how to proceed

25   in light of         the documents being returned to that party).

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                    Dated:       March 19, 2018
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